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               UNITED STATES DISTRICT COURT
         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DANNY ESPELETA,                                      )
                                                     )
               Plaintiff,                            )
                                                     )
                                                     ) Case No.: 2:12-cv-6348-BMS
       v.                                            )
                                                     )
NCO FINANCIAL SYSTEMS, INC.,                         )
                                                     )
                                                     )
               Defendant                             )
                              STIPULATION TO DISMISS

TO THE CLERK:

       Pursuant to Rule 41.1(b), counsel for all parties hereto stipulate to the dismissal

with prejudice without cost to either party.



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   Attorney for the Defendant                          Attorney for the Plaintiff

   Date: January 28, 2013                              Date: January 28, 2013




                                    BY THE COURT:



                                      _________________________
                                                              J.
